        Case 25-80069-mvl11          Doc 374      Filed 04/22/25      Entered 04/22/25 11:59:12           Desc
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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 21, 2025
                                            United States Bankruptcy Judge
 ______________________________________________________________________


BTXN 056 (rev. 03/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
In Re:                                             §
Zips Car Wash, LLC                                 § Case No.: 25−80069−mvl11
                                                   § Chapter No.: 11
                                      Debtor(s)    §
                           CHAPTER 11 POST−CONFIRMATION ORDER
    The Court entered an order confirming a plan in this case. Pursuant to 11 U.S.C. §1106(a)(7) and Bankruptcy
Rule 3022, to provide a schedule for final action in this case, it is therefore

      ORDERED that all applications for the award of compensation or expenses, if any, for professional persons in
this case and motions for administrative expenses, if any, shall be filed and served within 60 days after entry of this
order, unless the confirmation order or plan provides otherwise. Objections to any application or motion must be filed
within 21 days of service, and it is further

     ORDERED that objections to claims, if any, shall be filed and served within 60 days after entry of this order,
unless the confirmation order or plan provides otherwise. Responses to the objections must be filed within 30 days of
service, and it is further

     ORDERED that the Debtor(s) or plan proponent(s) shall obtain settings for hearings on all applications for the
award of compensation or expenses and motions for administrative expenses, and, consistent with the notice
requirements of Bankruptcy Rule 3007, to determine objections to claims, and it is further

     ORDERED that the Debtor(s), plan proponent(s), or other responsible party, after substantial consummation as
defined under 11 U.S.C. §1101(2), shall file an application for final decree, and it is further

     ORDERED that if the application for final decree is not filed within 180 days of the entry of this Order, a status
conference will be held on October 21, 2025, at 2:00PM via https://us−courts.webex.com/meet/larson, and it is
further

     ORDERED that if the Debtor(s), plan proponent(s) or other responsible party do(es) not appear at the status
conference, the Court, on its own motion, may enter a final decree closing the case pursuant to Bankruptcy Rule 3022
or dismiss the case, and it is further

     ORDERED that the Debtor(s) or plan proponent(s) shall certify that copies of this order were mailed to all
creditors and other parties in interest within 14 days of entry of this order.

                                               # # # End of Order # # #
